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11   AMBER MACHOWSKI
12
                           UNITED STATES DISTRICT COURT
13
                          CENTRAL DISTRICT OF CALIFORNIA
14
15   AMBER MACHOWSKI, an individual,       Case No.
16
             Plaintiff,
17
        v.
18                                         COMPLAINT FOR VIOLATIONS
     RON'S MINI MART, INC., a California   OF: AMERICANS WITH
19                                         DISABILITIES ACT OF 1990, 42
     Corporation; and
20   DOES 1-10,                            U.S.C. § 12181, et seq.; UNRUH
                                           CIVIL RIGHTS ACT, CALIFORNIA
21                                         CIVIL CODE § 51, et seq.
             Defendants.
22
23                                         DEMAND FOR JURY TRIAL

24
25
26
27
28

                                     COMPLAINT
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 1         Plaintiff Amber Machowski (hereinafter referred to as “Plaintiff”) complains
 2
     of Defendant Ron’s Mini Mart, Inc, a California Corporation; and Does 1-10 (each,
 3
 4   individually a “Defendant,” and collectively “Defendants”), and alleges as follows:

 5                                      I.     PARTIES
 6
           1.     Plaintiff Amber Machowski cannot walk or stand. She is paraplegic.
 7
 8   She broke her back in a tragic car accident, and the subsequent back surgery left her
 9   paralyzed from the bellybutton down on the right side of her body. Although she
10
     can move the left lower half of her body, neurological issues and muscle atrophy
11
12   have resulted in weakness, reduced motor function, and limited mobility in the left
13   lower half of her body. Plaintiff has regularly attended physical therapy since the
14
     accident. Plaintiff is permanently confined to a wheelchair. She uses a manual
15
16   wheelchair. Plaintiff is a disabled person entitled to the protections of the
17   California Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51, et seq., 52,
18
     et seq.), the Americans with Disabilities Act (ADA) (see 42 U.S.C. § 12102, et
19
20   seq.), and other statutory laws which protect the rights of “disabled persons.”
21
     Plaintiff has been issued permanent Disabled Person License Plates, as well as a
22
     blue permanent Disabled Person Parking Placard, by the State of California.
23
24   Plaintiff is a California resident with physical disabilities.
25
           2.     Defendant Ron’s Mini Mart, Inc, a California Corporation; owned the
26
     property (the “Property”), located at 2445 E Ball Road, Anaheim, CA 92806.
27
28
                                           2
                                       COMPLAINT
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 1         3.     There is a business establishment on the Property named “Arco,”
 2
     (hereinafter, “the business”).
 3
 4         4.     The businesses are public accommodations as defined by 42 U.S.C. §

 5   12181(7).
 6
           5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 7
 8   owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
 9   corporate officers, managers, principles, and/or representatives of Defendants.
10
     Plaintiff is unaware of the true names and capacities of Defendants sued herein as
11
12   DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
13   names. Plaintiff requests that the Court grant leave to amend this complaint to
14
     allege the true names and capacities when determined by whatever source.
15
16         6.     Defendants, at all relevant times, were relevant to this action; were the
17   owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
18
     agents, affiliates, employees, employers, representative partners, subsidiaries,
19
20   partner companies, and/or joint venturers of the remaining Defendants; and were
21
     acting within the course and scope of that relationship. Upon information and
22
     belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
23
24   authorized the acts alleged of each of the remaining Defendants.
25
           7.     Plaintiff visited the public accommodations owned, leased, and/or
26
     operated by Defendants with the intent to purchase and/or use the goods, services,
27
28
                                          3
                                      COMPLAINT
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 1   facilities, privileges, advantages, and/or accommodations offered by Defendants.
 2
                               II.    JURISDICTION & VENUE
 3
            8.     This Court has subject matter jurisdiction over this action pursuant to
 4
 5   28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
 6          9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 7
     action, arising from the same nucleus of operative facts, and arising out of the same
 8
 9   transactions, is also brought under the UCRA, which expressly incorporates the
10   ADA.
11
            10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
12
13   the real property which is the subject of this action is located in this district, and
14
     Plaintiff’s cause of action arose in this district.
15
                                           III.   FACTS
16
17          11.    The Property is a facility which is open to the public and includes
18
     business establishments.
19
            12.    The Property has been newly constructed and/or underwent
20
21   remodeling, repairs, or alterations since 1992. Defendants have failed to comply
22
     with California access standards which applied at the time of each new construction
23
     and/or alteration, and/or failed to maintain accessible features in operable working
24
25   condition.
26
            13.    Plaintiff visited the Property during the relevant statutory period on
27
28
     three (3) separate occasions, in February 2020, November 2020 and December
                                            4
                                        COMPLAINT
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 1   2020 to patronize the business on the Property. She used her manual wheelchair
 2
     (which does not have “power assist,” or any add-on that provides powered
 3
 4   assistance for propelling) during all of her visits.

 5         14.    Defendants did not offer persons with disabilities with equivalent
 6
     facilities, privileges, and advantages offered by Defendants to other patrons.
 7
 8         15.    Plaintiff encountered barriers, both physical and intangible, that
 9   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
10
     privileges, and/or accommodations offered at the Property.
11
12         16.    Parking is one of the facilities, privileges, and advantages offered by
13   Defendants to patrons of the Property.
14
           17.    However, there was no accessible parking for disabled patrons at the
15
16   Property. The parking space designated for disabled persons did not comply with
17   the ADA.
18
           18.    The parking area did not comply with the latest California Building
19
20   Code (CBC).
21
           19.    When Plaintiff visited the Property, she experienced access barriers
22
     related to parking, signage, entryways, and paths of travel.
23
24         20.    Plaintiff encountered the following barriers, conditions, and/or
25
     violations at the Property:
26
           Arco and the Property it sits on is inaccessible. The designated disabled
27
28
                                           5
                                       COMPLAINT
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 1        parking space and the adjacent loading/unloading access aisle have
 2
          slopes and changes in ground level. The paths of travel from the
 3
 4        designated disabled parking space and from the gas pumps are

 5        dangerous for Plaintiff to travel on. There are many cracks, slopes,
 6
          uneven ground surfaces, and other pavement distresses. There are other
 7
 8        non-compliant ADA elements inside of the business.
 9
10
          VIOLATION of 2010 CBC § 1114B.1.2; 1991 ADAS § 4.3.2(1). (Exterior
11
12        route of travel.) An accessible route of travel is not provided to all entrances
13        and portions of the building, and/or between the building and a public way.
14
          Plaintiff, a wheelchair user, needs a dedicated path of travel, free of
15
16        obstructions and vehicles, where (on which) she can operate her wheelchair.
17        It is dangerous for Plaintiff to navigate in a wheelchair without a safe,
18
          protected, accessible route of travel; thus, the violation interferes with
19
20        Plaintiff’s ability to fully access the premises.
21
22
          VIOLATION of 2010 CBC § 1127B.1. (Path of travel into building
23
24        entrances.) There is no accessible path of travel into the building entrances.
25
          Plaintiff, a wheelchair user, needs a dedicated path of travel, free of
26
          obstructions and vehicles, where (on which) she can operate her wheelchair.
27
28
                                         6
                                     COMPLAINT
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 1        It is dangerous for Plaintiff to navigate in a wheelchair without a safe,
 2
          protected, accessible path of travel; thus, the violation interferes with
 3
 4        Plaintiff’s ability to fully access the premises.

 5
 6
          VIOLATION of 2010 ADAS § 403.3. (Path of travel – cross slope.) The
 7
 8        cross slope of the accessible path of travel is greater than two percent (2%).
 9        Plaintiff, who uses a manual wheelchair, has difficulty navigating her
10
          mobility device on excess slopes.
11
12
13        VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
14
          parking space.) The designated disabled parking space measures less than
15
16        nine feet (9’) wide, which makes it difficult for Plaintiff to park in the
17        designated space. As a wheelchair user, Plaintiff needs to be able to park in
18
          the designated disabled parking space, which should be located closest to the
19
20        entrance and linked to an accessible route of travel, because it is more
21        difficult for her, as opposed to individuals who do not use wheelchairs, to
22
          maneuver about the Property.
23
24
25
          VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
26
          parking space.) The designated disabled parking space measures less than
27
28
                                         7
                                     COMPLAINT
 Case 8:21-cv-00215-DFM Document 1 Filed 01/30/21 Page 8 of 23 Page ID #:8



 1        eighteen feet (18’) long, which makes it difficult for Plaintiff to park in the
 2
          designated space. As a wheelchair user, Plaintiff needs to be able to park in
 3
 4        the designated disabled parking space, which should be located closest to the

 5        entrance and linked to an accessible route of travel, because it is more
 6
          difficult for her, as opposed to individuals who do not use wheelchairs, to
 7
 8        maneuver about the Property.
 9
10
          VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
11
12        changes in level.) The path of travel from the designated disabled parking
13        space has an uneven ground surface with changes in level exceeding one-half
14
          inch (1/2"). Plaintiff, a wheelchair user, cannot fully enjoy the premises
15
16        when such conditions are present. These excess changes in level pose risks
17        to Plaintiff, including that she may fall out of her wheelchair, and/or that her
18
          wheelchair may become trapped in an uneven surface.
19
20
21        VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
22
          § 502.4. (Slope of parking space.) The designated disabled parking space
23
24        has surface slopes in it that are greater than two percent (2%). Plaintiff, a
25
          wheelchair user, cannot access the premises because it is not safe for her to
26
          disembark from her vehicle onto a parking space surface with excess slopes.
27
28
                                         8
                                     COMPLAINT
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 1
 2
          VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
 3
 4        § 502.4. (Slope of adjacent access aisle.) The loading/unloading access aisle

 5        adjacent to the designated disabled parking space has surface slopes in it that
 6
          are greater than two percent (2%). Plaintiff, a wheelchair user, cannot access
 7
 8        the premises because it is not safe for her to disembark from her vehicle onto
 9        a parking space and/or adjacent access aisle surface with excess slopes.
10
11
12        VIOLATION of 1991 CBC § 1129B.4.2; 2010 CBC § 1129B.3; 2010
13        ADAS § 4.6.3. (Length of adjacent access aisle.) The access aisle adjacent
14
          to the designated disabled parking space is less than eighteen feet (18') long.
15
16        This makes it difficult for Plaintiff to use the adjacent access aisle to safely
17        disembark from the car. Plaintiff requires adequate space to safely
18
          disembark from her car with her wheelchair.
19
20
21        VIOLATION of 1991 CBC § 1129B.4.2; 2010 CBC § 1129B.3; 2010
22
          ADAS § 4.6.3. (Width of adjacent access aisle.) The loading/ unloading
23
24        access aisle adjacent to the designated disabled parking space is less than five
25
          feet (5') wide. This makes it difficult for Plaintiff to use the adjacent access
26
          aisle to safely disembark from the car. Plaintiff requires adequate space to
27
28
                                         9
                                     COMPLAINT
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 1        safely disembark from her car with her wheelchair.
 2
 3
 4        VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent

 5        loading/unloading access aisle must adjoin an accessible route to an
 6
          accessible entrance. It does not. Plaintiff cannot access the Property safely
 7
 8        unless there is an access aisle onto which she can disembark from her vehicle
 9        with her wheelchair. The access aisle must lead to an accessible, protected
10
          route, so that she can safely travel to and enter the business entrances.
11
12
13        VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
14
          parking – uneven surface.) The path of travel from the designated disabled
15
16        parking spaces to the business entrances has damaged ground which is
17        uneven. The damaged ground has pavement distresses. Parts of the ground
18
          surface are not flush. The surface of the ground within the designated path of
19
20        travel leading into the entrances is not flat. This makes traveling in this area
21        difficult. The path of travel from the designated disabled parking spaces to
22
          the entrances runs into these pavement distresses which have caused changes
23
24        in level greater than one-half inch, but no ramp is provided. These steep
25
          changes in level create uneven surfaces. The types of pavement distresses
26
          which exist include but are not limited to: alligator (fatigue) cracking; joint
27
28
                                       10
                                    COMPLAINT
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 1        reflection cracking; potholes; asphalt bleeding; patching near utilities; block
 2
          cracking; raveling; stripping; corrugation and shoving; and depressions.
 3
 4        These pavement distresses are made worse and exacerbated by designs which

 5        do not follow the ADA Accessibility Guidelines. These areas should be
 6
          fixed immediately because they pose a tripping and/or falling hazard.
 7
 8        Plaintiff, a wheelchair user, cannot fully enjoy the premises because these
 9        conditions pose a risk that, among other things, she may fall out of her
10
          wheelchair, and/or that her wheelchair may become trapped in an uneven
11
12        surface.
13
14
          VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS §§ 4.3.7, 4.8.1; 2010
15
16        ADAS § 403.3; 2016 CBC § 11B-403.3. (Ramps.) The accessible route of
17        travel has a slope greater than 1:20 (5%), but it is not a compliant ramp.
18
          Plaintiff, who uses a manual wheelchair, has difficulty with her mobility
19
20        device on slopes that are not compliant ramps.
21
22
23        VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.)
24
          There is no compliant ramp with a width of forty-eight inches (48"). Plaintiff
25
26        requires adequate space to navigate on sloped surfaces and/or ramps with her

27        wheelchair, and she cannot do so when the ramps are excessively narrow.
28
                                       11
                                    COMPLAINT
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 1
 2
          VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
 3
 4        possible slope of ramp.) There is no compliant ramp, with the least possible

 5        slope, leading into the businesses. The curb ramp exceeds the maximum
 6
          running slope allowable. Plaintiff, who uses a manual wheelchair, has
 7
 8        difficulty with her mobility device on slopes that are not compliant ramps.
 9
10
11        VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Maximum
12        slope of ramp.) The slope of the curb ramp leading into the businesses is
13
          greater than 8.33%. The curb ramp exceeds the maximum running slope
14
15        allowable. Plaintiff, who uses a manual wheelchair, has difficulty with her
16        mobility device on slopes that are not compliant ramps.
17
18        VIOLATION of 2010 CBC § 1133B.5.3.1; 2010 ADAS § 405.3; 1991
19        ADAS § 4.8.6. (Maximum cross slope of ramp.) The cross slope of the
20
          ramp is greater than two percent (2%). Plaintiff, who uses a manual
21
22        wheelchair, has difficulty with her mobility device on slopes that are not
23        compliant ramps.
24
25
26
          VIOLATION of 2010 CBC § 1133B.5.4; 2010 ADAS § 405.7; 1991 ADAS
27
          § 4.8.4. (Level ramp landings.) There is no compliant ramp with level ramp
28
                                       12
                                    COMPLAINT
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 1        landings at the top and bottom. Plaintiff requires level ramp landings at the
 2
          top and bottom of each ramp to safely navigate her manual wheelchair.
 3
 4
 5
          VIOLATION of 2010 CBC § 1133B.5.4; 2010 ADAS § 405.7.2; 1991
 6
 7        ADAS § 4.8.4(1). (Width of ramp landings.) There is no compliant ramp
 8        with ramp landings that are at least as wide as the ramp run leading to them.
 9
          Plaintiff requires ample space to safely navigate her manual wheelchair on
10
11        the ramp landings.
12
13
14        VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2).
15        (Minimum landing width and length for top ramp landings.) There is no
16
          compliant ramp with a top ramp landing that is sixty inches (60") wide and
17
18        sixty inches (60") long as required. Plaintiff requires ample space to navigate
19        her wheelchair on ramp landings.
20
21
22        VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
23
          bottom ramp landings.) There is no compliant ramp with a bottom ramp
24
25        landing that is seventy-two inches (72") long as required. Plaintiff requires
26
          ample space to navigate her wheelchair on ramp landings.
27
28
                                       13
                                    COMPLAINT
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 1
 2
          VIOLATION of 2010 CBC § 1133B.5.4.6; 2010 ADAS § 405.7.4; 1991
 3
 4        ADAS § 4.8.4(3). (Minimum landing size for change of direction in ramp.)

 5        There is no compliant ramp with a landing at least sixty inches (60") long
 6
          and sixty inches (60") wide where there is a change in direction in the ramp.
 7
 8        Plaintiff requires ample space to navigate her wheelchair around turns in
 9        ramps.
10
11
12        VIOLATION of 2010 CBC § 1133B.5.4.9. (Ramp curb.) Required ramps
13
          shall have a curb at least two inches (2") high, or a wheel guide rail two to
14
15        four inches (2"- 4") high on each side of the ramp landing that has a vertical
16        drop exceeding four inches (4") and that is not bounded by a wall or fence.
17
          The ramp does not have a curb at least two inches (2") high, or an
18
19        appropriate wheel guide rail. There is a risk that Plaintiff may fall out of her
20        wheelchair, or may not be able to navigate her wheelchair, when proper curbs
21
          or wheel guide rails are not provided.
22
23
24
          VIOLATION of 2010 CBC § 1127B.5.1; 2010 ADAS § 406.1; 1991 ADAS
25
          § 4.7.1. (Curb ramp.) The accessible route of travel crosses a curb, but there
26
27        is not a compliant curb ramp. Plaintiff requires a curb ramp to safely
28
                                       14
                                    COMPLAINT
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 1          navigate her wheelchair.
 2
 3
 4          VIOLATION of 2010 CBC § 1133B.1.1.1.3; 2010 ADAS § 302.2.

 5          (Carpet.) Carpets and mats must be securely attached to a stable surface.
 6
            Carpeting must be securely attached so that it does not shift or buckle against
 7
 8          wheeled traffic. The mat is not securely attached, which can cause rolling
 9          and buckling. Rolling or buckling occurs when a carpet or mat is not
10
            properly secured, and makes wheelchair maneuvering very difficult.
11
12          Plaintiff’s wheelchair can easily catch on unsecured mats and/or carpets,
13          causing her wheelchair to get stuck.
14
15
16          21.    Plaintiff personally encountered the foregoing barriers, conditions,
17   and/or violations.
18
            22.    These barriers, conditions, and/or violations denied Plaintiff full and
19
20   equal access, and caused her difficulty, humiliation, and/or frustration.
21          23.    The barriers, conditions, and/or violations existed during each of
22
     Plaintiff’s visits in 2020.
23
24          24.    Defendants knew that the foregoing architectural barriers prevented
25
     access. Plaintiff will prove that Defendants had actual knowledge that the
26
     architectural barriers prevented access, and that the noncompliance with the ADA
27
28
                                          15
                                       COMPLAINT
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 1   Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
 2
     Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
 3
 4   was intentional.

 5          25.    Plaintiff intends and plans to visit the Property again soon. Currently,
 6
     Plaintiff is reasonably deterred from returning to Defendants’ public
 7
 8   accommodation facilities because of the knowledge of barriers to equal access,
 9   relating to Plaintiff’s disabilities, that continue to exist at the Property.
10
            26.    Defendants have failed to maintain in working and useable condition
11
12   those features necessary to provide ready access to persons with disabilities.
13          27.    Defendants have the financial resources (i.e., financial ability) to
14
     remove these barriers without much expense or difficulty in order to make the
15
16   Property more accessible to their mobility impaired customers (i.e., disabled
17   persons). The removal of these barriers is readily achievable. The United States
18
     Department of Justice has determined that removal of these types of barriers is
19
20   readily achievable.
21
            28.    Defendants refuse to remove these barriers.
22
            29.    On information and belief, Plaintiff alleges that Defendants’ failure to
23
24   remove these barriers was/is intentional, because the barriers are logical and
25
     obvious. During all relevant times, Defendants had authority, control, and
26
     dominion over these conditions. Thus, the absence of accessible facilities was/is
27
28
                                           16
                                        COMPLAINT
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 1   not a mishap; it was/is the result of intentional actions or inaction.
 2
           30.    These barriers to access are described herein without prejudice to
 3
 4   Plaintiff citing additional barriers to access after further inspection by Plaintiff’s

 5   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
 6
     (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 7
 8   have all barriers that relate to his or her disability removed, regardless of whether
 9   he or she personally encountered them).
10
                 IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
11
12                 AMERICANS WITH DISABILITIES ACT OF 1990
13                                 (42 U.S.C. § 12101, et seq.)
14
                                    (Against All Defendants)
15
16         31.    Plaintiff alleges and incorporates by reference each and every
17   allegation contained in all prior paragraphs of this complaint.
18
           32.    Title III of the ADA prohibits discrimination against any person on the
19
20   basis of disability in the full and equal enjoyment of the goods, services, facilities,
21
     privileges, advantages, or accommodations of any place of public accommodation
22
     by any person who owns, leases, or operates a place of public accommodation. 42
23
24   U.S.C. § 12182(a).
25
           33.    Defendants discriminated against Plaintiff by denying her “full and
26
     equal enjoyment” and use of the goods, services, facilities, privileges, and/or
27
28
                                          17
                                       COMPLAINT
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 1   accommodations they offered during each visit, and each incident of a deterred
 2
     visit.
 3
 4             34.   The acts and omissions of Defendants herein were/are in violation of

 5   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
 6
     et seq.
 7
 8             35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
 9   modifications in policies, practices or procedures, when such modifications are
10
     necessary to afford goods, services, facilities, privileges, advantages or
11
12   accommodations to individuals with disabilities, unless the entity can demonstrate
13   that making such modifications would fundamentally alter the nature of such goods,
14
     services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
15
16   12182(b)(2)(A)(ii).
17             36.   The ADA requires removal of architectural barriers in existing
18
     facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
19
20   (“discrimination includes … a failure to remove architectural barriers, and
21
     communication barriers that are structural in nature, in existing facilities, … where
22
     such removal is readily achievable”). The term “readily achievable” is defined as
23
24   “easily accomplishable and able to be carried out without much difficulty or
25
     expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
26
     Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
27
28
                                           18
                                        COMPLAINT
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 1   ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
 2
     Appendix A.
 3
 4         37.    If removal of any barrier is not readily achievable, a failure to make

 5   goods, services, facilities, or accommodations available through alternative
 6
     methods is also prohibited if the alternative methods are readily achievable. 42
 7
 8   U.S.C. § 12182(b)(2)(A)(v).
 9         38.    Defendants can remove the architectural barriers at their facility
10
     without much difficulty or expense. Defendants violated the ADA by failing to
11
12   remove the barriers because removal was readily achievable. For instance, there
13   are companies which can repaint parking areas for as little as $350. Defendants can
14
     afford such costs, which are a fraction of what Defendants receive in (rental or
15
16   business) profits in connection with such a large and expensive property.
17         39.    Alternatively, if it was not “readily achievable” for Defendants to
18
     remove barriers at their facilities, Defendants violated the ADA by failing to make
19
20   their services available through alternative methods which are readily achievable.
21
           40.    On information and belief, Plaintiff alleges that the facility was altered
22
     after January 26, 1992, mandating compliance with accessibility requirements
23
24   under the ADA.
25
           41.    The ADA requires that facilities altered in a manner that affects or
26
     could affect their usability must be made readily accessible to individuals with
27
28
                                         19
                                      COMPLAINT
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 1   disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
 2
           42.    Defendants altered the facilities at the Property in a manner that
 3
 4   violated the ADA, and/or failed to make the Property readily accessible to

 5   physically disabled persons to the maximum extent feasible.
 6
           43.    The ADA also requires reasonable modifications in policies, practices,
 7
 8   or procedures, when such modifications are necessary to afford goods, services,
 9   facilities, privileges, advantages, or accommodations to individuals with
10
     disabilities, unless the entity can demonstrate that making such modifications
11
12   would fundamentally alter the nature of such goods, services, facilities, privileges,
13   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
14
           44.    Defendants violated the ADA by failing to make reasonable
15
16   modifications in policies, practices, or procedures at the Property when these
17   modifications were necessary to afford (and would not fundamentally alter the
18
     nature of) the goods, services, facilities, privileges, advantages, or accommodations.
19
20         45.    Plaintiff seeks a finding from this Court that Defendants violated the
21
     ADA, so that she may pursue damages under California’s Unruh Civil Rights Act.
22
           46.    Here Defendants’ failure to make sure that accessible facilities were
23
24   available to, and ready to be used by, Plaintiff was/is a violation of law.
25
           47.    Plaintiff would like to continue to frequent the Property, which is close
26
     to her home. However, she is deterred from doing so because she has been
27
28
                                         20
                                      COMPLAINT
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 1   discriminated against and is aware of accessibility barriers at the Property.
 2
           48.    Among the remedies sought, Plaintiff seeks an injunction order
 3
 4   requiring compliance with federal and state disability access laws, and remediation

 5   of the existing access violations (i.e., removal of the existing barriers) at the
 6
     Property.
 7
 8               V. SECOND CAUSE OF ACTION: VIOLATION OF THE
 9                              UNRUH CIVIL RIGHTS ACT
10
                                   (Cal. Civ. Code §§ 51-53)
11
12                                  (Against All Defendants)
13         49.    Plaintiff repleads and incorporates by reference, as though fully set
14
     forth herein, the allegations contained in all prior paragraphs of this complaint.
15
16         50.    California Civil Code § 51 states, in part: “All persons within the
17   jurisdictions of this state are entitled to the full and equal accommodations,
18
     advantages, facilities, privileges, or services in all business establishments of every
19
20   kind whatsoever.”
21
           51.    California Civil Code § 51 also states, in part: “No business
22
     establishment of any kind whatsoever shall discriminate against any person in this
23
24   state because of the disability of the person.”
25
           52.    California Civil Code § 51(f) specifically incorporates, by reference,
26
     an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
27
28
                                          21
                                       COMPLAINT
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 1          53.    The UCRA also provides that a violation of the ADA, or California
 2
     state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
 3
 4   see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.

 5   1994).
 6
            54.    Defendants’ above-mentioned acts and omissions have violated the
 7
 8   UCRA by denying Plaintiff her rights to full and equal use of the accommodations,
 9   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
10
     disability.
11
12          55.    Defendants’ above-mentioned acts and omissions have also violated
13   the UCRA by denying Plaintiff her rights to equal access pursuant to the ADA; and,
14
     thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
15
16          56.    Because Defendants’ violation of the UCRA resulted in difficulty,
17   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
18
     responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
19
20   //
21
     //
22
     //
23
24   //
25
     //
26
     //
27
28
                                          22
                                       COMPLAINT
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 1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
     She seeks actual damages, and statutory minimum damages of four thousand
 3
 4   dollars ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied

 5   full and equal access).
 6
                                    PRAYER FOR RELIEF
 7
 8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 9         1. For injunctive relief compelling Defendants to comply with the
10
                 Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
11
12               Plaintiff is not invoking section 55 of the California Civil Code and is not
13               seeking injunctive relief under the Disabled Persons Act.
14
           2. Damages under the Unruh Civil Rights Act, which provides for actual
15
16               damages and statutory minimum damages of $4,000 per each offense.
17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
18
                 to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
19
20                                      JURY DEMAND
21
           Plaintiff demands a trial by jury on all issues so triable.
22
23
     Dated: January 22, 2021            THE LAW OFFICE OF HAKIMI & SHAHRIARI
24
                                        By:   /s/ Peter Shahriari
25                                            PETER SHAHRIARI, ESQ.
26                                            Attorney for Plaintiff Amber Machowski

27
28
                                           23
                                        COMPLAINT
